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            Welcome to the New eFaST website for the Court of Appeals of Georgia. 


 Instructions 


 Questions and Answers 


 November 18, 2014 

 The e-filing instructions have been updated. 



 





This is a reminder that if you have registered for e-filing, you will receive all docketing notices, orders, opinions and other notices  about appeals in which you are counsel of record through e-mail from the COA EFast System.  Please make sure e-mails from the coaefast@gaappeals.us do not go to trash or your spam mail folder.
Also, it is your responsibility to keep your e-mail address up to date in your profile on the COA EFAST System so that you will receive your mail from the system. We recommend that you include a secondary e-mail address (your paralegal, secretary, or
another attorney) to be cc'd on all our e-mails that include Court actions (orders, opinions, etc.).






Please do not attach the following types of exhibits to pleadings such as briefs and motions (including motions for reconsideration) which are e-filed:

Do not attach a copy of the Petition to the Supreme Court of Georgia for a Writ of Certiorari to the Notice of Filing the Petition.

Do not attach copies of this Court's opinions or orders to your pleadings.  You should provide citations to opinions you reference and the date and type of order you reference.

Do not attach exhibits which are in the trial court record which were filed with this Court by the trial court clerk for a direct appeal.  You should reference these documents by the record volume number and page number in the official record.





June 30, 2014 - Credit Card Convenience Fee reduced to $10.00



Please be advised the credit card convenience fee will be reduced to $10.00 effective July 1, 2014.






Effective January 1, 2015, all Georgia attorneys must be registered in the COA EFAST
system.





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